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                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF INDIANA
                                 HAMMOND DIVISION

 UNITED STATES OF AMERICA,                     )
                                               )
               Plaintiff,                      )
                                               )
       v.                                      )    NO. 2:15 CR 72 PPS
                                               )
 KASH LEE KELLY                                )
                                               )
               Defendant.                      )

                                          ORDER

       This court has repeatedly recognized the dangers presented by the COVID-19

pandemic, and the attendant justification for modification of court operations to protect

court personnel, litigants and the public against the spread of the virus. See, e.g.,

General Order No. 2020-35, dated November 30, 2020. In particular, the court has noted

that “gatherings of people in close proximity to one another that occur during Court

operations present the potential for substantial health risks to the public.” Id. at 1.

Hearings in criminal cases -- for changes of plea, for supervised release revocation

proceedings, for sentencings and the like -- present such a dangerous potential if

attended in person by members of the public or the press whose presence is not critical

to the proceedings. At the same time, except in rare instances, such court proceedings

are open to the public, and access cannot be lightly or routinely denied. In order to

accommodate the competing concerns of public safety during a dangerous pandemic

and public access to open court hearings, I will implement in this case appropriate
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limitations on the people who are admitted to the courtroom in person, permitting all

other interested persons to listen to the proceedings via telephone.

      ACCORDINGLY:

      In-person attendance at hearings before Judge Simon in this matter will be

limited to the defendant, counsel, case agents, court personnel, representatives of the

probation office, witnesses and victims. All other members of the public have access

only by telephone, by dialing 888-363-4749 and entering the code 9147763 when

prompted.

      Any objection to this procedure must be lodged by a written filing no later than

24 hours prior to the hearing in question.

      SO ORDERED.

      ENTERED: December 18, 2020

                                         /s/ Philip P. Simon
                                         PHILIP P. SIMON, JUDGE
                                         UNITED STATES DISTRICT COURT




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